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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ANDREW R. PERRONG,

                        Plaintiff,
                                                               CIVIL ACTION
           v.                                                  NO. 17-05816

PENN FOSTER EDUCATION GROUP, INC.,

                        Defendant.




                                            ORDER

       AND NOW, this 3rd day of January, 2018, it is hereby ORDERED that this case shall be

referred for compulsory arbitration pursuant to Local Rule of Civil Procedure 53.2.




                                                    BY THE COURT:


                                                    /s/ Gerald J. Pappert
                                                    GERALD J. PAPPERT, J.
